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     ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024

             United States Court of Appeals
           for the District of Columbia Circuit

                                         No. 24-1113
                 (and Consolidated Cases 24-1130 & 24-1183)


                    TIKTOK INC. and BYTEDANCE LTD.,
                                                                 Petitioners,
                                              v.
            MERRICK B. GARLAND, in his official capacity as
                Attorney General of the United States,
                                                        Respondent.
                 (For Continuation of Caption See Inside Cover)
                            ––––––––––––––––––––––––––––––
        On Petition for Review of Constitutionality of the Protecting
       Americans from Foreign Adversary Controlled Applications Act
   NOTICE OF INTENT TO PARTICIPATE AS AMICI CURIAE FOR
 CAMPAIGN FOR UYGHURS, THE COMMITTEE FOR FREEDOM IN
HONG KONG, HONG KONG WATCH, INTERNATIONAL CAMPAIGN
FOR TIBET, UYGHUR AMERICAN ASSOCIATION, UYGHUR HUMAN
  RIGHTS PROJECT, AND VICTIMS OF COMMUNISM MEMORIAL
          FOUNDATION IN SUPPORT OF RESPONDENT

                                                   JOEL L. THAYER
                                                   THAYER, PLLC
                                                   1255 Union Street, 7th Floor
                                                   Washington, D.C. 20002
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                                                   Counsel for Amici Curiae

August 8, 2024

                  (800) 4-APPEAL • (331594)
USCA Case #24-1113   Document #2068954       Filed: 08/08/2024       Page 2 of 5


                      BRIAN FIREBAUGH, et al.,
                                                      Petitioners,
                                   v.
            MERRICK B. GARLAND, in his official capacity as
                Attorney General of the United States,
                                                      Respondent.
                     ––––––––––––––––––––––––––––––
                        BASED POLITICS INC.,
                                                      Petitioner,
                                   v.
            MERRICK B. GARLAND, in his official capacity as
                Attorney General of the United States,
                                                      Respondent.
USCA Case #24-1113       Document #2068954           Filed: 08/08/2024    Page 3 of 5

              NOTICE OF INTENT TO FILE AMICUS BRIEF

      Pursuant to Federal Rule of Appellate Procedure 29(a) and Circuit Rule

29(b), the Campaign for Uyghurs, the Committee for Freedom in Hong Kong,

Hong Kong Watch, International Campaign for Tibet, Uyghur American

Association, Uyghur Human Rights Project and Victims of Communism (together

“amici”) represents that they intend to participate in this case as Amici Curiae in

support of Respondent. Petitioners and Respondent have consented to the filing of

this amicus brief.

                                                           Respectfully submitted,
 Dated: August 8, 2024
                                                                /s/ Joel L. Thayer
                                                                     Joel L. Thayer
                                                                     Thayer, PLLC
                                                        1255 Union Street, 7th Floor
                                                           Washington, D.C. 20002
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                                                          Attorney for Amici Curiae




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                     CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

26.1, amici state that they have no parent corporations and that no publicly held

company owns ten percent (10%) or more of any amici’s organizations.



                                                          Respectfully submitted,
Dated: August 8, 2024
                                                                 /s/ Joel L. Thayer
                                                                      Joel L. Thayer

                                                         Attorney for Amici Curiae




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                          CERTIFICATE OF SERVICE

I hereby certify that on August 8, 2024, I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the District of

Columbia Circuit by using the CM/ECF system, which will serve all parties

automatically.


                                                           Respectfully submitted,
Dated: August 8, 2024
                                                                  /s/ Joel L. Thayer
                                                                       Joel L. Thayer

                                                          Attorney for Amici Curiae




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